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                               EXHIBIT 15
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Counsel for NexPoint Advisors, L.P

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re                                           §
                                                 §
                                                                    Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                    §
 L.P.,                                           §
                                                             Case No. 19-34054-sgj11
                                                 §
          Debtor.                                §
                                                 §
 HIGHLAND CAPITAL MANAGEMENT,                    §
 L.P.,                                           §
                                                 §
          Plaintiff,                             §
                                                 §              Adv. No. 21-03005
 v.                                              §
                                                 §
 NEXPOINT ADVISORS, L.P.                         §
                                                 §
          Defendant.                             §

    DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
   FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION

TO:      Highland Capital Management, L.P. through its counsel of record, Jeffrey Pomerantz and
         John Morris, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor,
         Los Angeles, CA 90067, jpomerantz@pszjlaw.com; jmorris@pszjlaw.com; Zachery
         Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, TX 75231,
         zannable@haywardfirm.com

         NexPoint Advisors, L.P. (“NexPoint”), the defendant in the above-styled and numbered

adversary proceeding, hereby makes the following objections and gives the following responses


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to the Debtor’s First Requests for Admissions Directed to NexPoint Advisors, L.P., the Debtor’s

First Request for Production of Documents Directed to NexPoint Advisors, L.P., and the Debtor’s

First Set of Interrogatories Directed to NexPoint Advisors, L.P., pursuant to Rules 33, 34, and 36

of the Federal Rules of Civil Procedure and Rules 7033, 7034, and 7036 of the Federal Rules of

Bankruptcy Procedure.

                           I.     REQUESTS FOR ADMISSIONS

REQUEST FOR ADMISSION 1:

      Admit that attached as Exhibit A is a true and correct copy of the Note (a) executed by
NPA, as maker, in favor of the Debtor, as payee, (b) dated May 31, 2017, (c) in the original face
amount of $30,746,812.33.

       RESPONSE: Admitted.

REQUEST FOR ADMISSION 2:

        Admit that on or about May 31, 2017, the Debtor paid $30,746,812.33 to NPA (or for its
benefit) in exchange for the Note (the “Consideration”).

       RESPONSE: Denied.

REQUEST FOR ADMISSION 3:

       Admit that attached as Exhibit B is the Debtor’s January 7, 2021 demand letter (the
“Demand Letter”) to NPA demanding payment of the accrued interest and principal due, and any
other amounts due on the Note, in the aggregate amount of $24,471,804.98 as of January 8, 2021.

       RESPONSE: NexPoint admits that Exhibit B is a true and correct copy of a letter the
       Debtor sent to NexPoint on or about January 7, 2021. NexPoint denies the letter had any
       legal effect given that the Debtor caused NexPoint’s alleged default. To the extent not
       expressly admitted, this request is denied.

REQUEST FOR ADMISSION 4:

        Admit that, after receiving the Demand Letter, NPA never asked, requested, or demanded
that the Debtor make any payments on the Note on behalf of NPA.

       RESPONSE: NexPoint admits that it made no such express request, but NexPoint denies
       it had any obligation to request that the Debtor do something it was already obligated to
       do. To the extent not expressly admitted, this request is denied.



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REQUEST FOR ADMISSION 5:

        Admit that (a) on January 14, 2021, NPA paid the Debtor $1,406,111.92 that was due under
the Note on December 31, 2020 (the “January Payment”), and (b) the Debtor did nothing to assist
or aid NPA in making the January Payment.

       RESPONSE: NexPoint admits that it made the January Payment but denies that the
       January Payment was past due through any fault of NexPoint. NexPoint admits that the
       Debtor wrongfully failed to assist NexPoint with making payments when due under the
       Note, including the January Payment. To the extent not expressly admitted, this request is
       denied.

REQUEST FOR ADMISSION 6:

       Admit that attached as Exhibit C is the Debtor’s January 15, 2021 demand letter (the
“Second Demand Letter”) to NPA demanding payment of the accrued interest and principal due,
and any other amounts due on the Note, in the aggregate amount of $23,071,195.03 as of January
15, 2021 (the “Outstanding Amount”).

       RESPONSE: NexPoint admits that Exhibit C is a true and correct copy of a letter the
       Debtor sent to NexPoint on or about January 15, 2021. NexPoint denies the letter had any
       legal effect given that the Debtor caused NexPoint’s alleged default. To the extent not
       expressly admitted, this request is denied.

REQUEST FOR ADMISSION 7:

       Admit that, as of January 22, 2021, NPA has not paid the Debtor the Outstanding Amount.

       RESPONSE: NexPoint denies that any amount is due and payable under the note.
       NexPoint admits that it has not paid the balance owing under the note, as such balance is
       not due. To the extent not expressly admitted, this request is denied.

                          II.    REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION 1:

       All Documents and Communications Concerning Your contention that “Plaintiff was
responsible for making payments on behalf of the Defendant under the [N]ote,” as alleged in
paragraph 39 of the Answer.

       RESPONSE: NexPoint will produce responsive, non-privileged documents from May 31,
       2017 to present that are within its possession, custody, or control. NexPoint notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       NexPoint does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to NexPoint’s requests for production.




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REQUEST FOR PRODUCTION 2:

        All Documents and Communications Concerning Your contention that “[a]ny alleged
default under the [N]ote was the result of Plaintiff’s own negligence, misconduct, breach of
contract, etc.,” as alleged in paragraph 39 of the Answer.

       RESPONSE: NexPoint will produce responsive, non-privileged documents from May 31,
       2017 to present that are within its possession, custody, or control. NexPoint notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       NexPoint does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to NexPoint’s requests for production.

REQUEST FOR PRODUCTION 3:

      All Documents and Communications Concerning Your contention that “the brief delay in
payment was the Plaintiff’s own fault,” as alleged in paragraph 40 of the Answer.

       RESPONSE: NexPoint will produce responsive, non-privileged documents from May 31,
       2017 to present that are within its possession, custody, or control. NexPoint notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       NexPoint does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to NexPoint’s requests for production.

REQUEST FOR PRODUCTION 4:

       All Documents and Communications Concerning the affirmative defenses of “waiver” or
“estoppel.” See Answer ¶ 41.

       RESPONSE: NexPoint will produce responsive, non-privileged documents from May 31,
       2017 to present that are within its possession, custody, or control. NexPoint notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       NexPoint does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to NexPoint’s requests for production.

REQUEST FOR PRODUCTION 5:

        All Documents and Communications Concerning the Default Letter, including but not
limited to any subsequent request or demand by NPA that the Debtor make the payment demanded
under the Note on Your behalf.

       RESPONSE: NexPoint will produce responsive, non-privileged documents from May 31,
       2017 to present that are within its possession, custody, or control. NexPoint notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       NexPoint does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to NexPoint’s requests for production.




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REQUEST FOR PRODUCTION 6:

      All Documents and Communications that You intend to offer into evidence in this
Adversary Proceeding.

       RESPONSE: NexPoint objects to this request to the extent it seeks to impose obligations
       that exceed those imposed by applicable law. NexPoint is still in the process of identifying
       documents and communications it will offer into evidence, and the parties have stipulated
       to a deadline for filing witness and exhibit lists (July 26, 2021). For the avoidance of doubt,
       documents responsive to this request will likely be responsive to other requests, in which
       case they will not be withheld elsewhere based on this objection.

                                 III.    INTERROGATORIES

INTERROGATORY NO. 1:

       Identify each person who You believe has personal knowledge of any facts Concerning
Your contention that “Plaintiff was responsible for making payments on behalf of the Defendant
under the [N]ote,” as alleged in paragraph 39 of the Answer.

       RESPONSE: Frank Waterhouse and James Dondero.

INTERROGATORY NO. 2:

       Identify each person who You believe has personal knowledge of any facts to Concerning
Your contention that “[a]ny alleged default under the [N]ote was the result of Plaintiff’s own
negligence, misconduct, breach of contract, etc.,” as alleged in paragraph 39 of the Answer.

       RESPONSE: Frank Waterhouse and James Dondero.

INTERROGATORY NO. 3:

       Identify each person who You believe has personal knowledge of any facts Concerning
Your contention that “the brief delay in payment was the Plaintiff’s own fault,” as alleged in
paragraph 40 of the Answer.

       RESPONSE: Frank Waterhouse and James Dondero.

INTERROGATORY NO. 4:

       Identify each person who You believe has personal knowledge of any facts Concerning
Your contention that “the brief delay in payment was the Plaintiff’s own fault,” as alleged in
paragraph 40 of the Answer.

       RESPONSE: Frank Waterhouse and James Dondero.




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INTERROGATORY NO. 5:

      Identify each person who You believe has personal knowledge of any facts Concerning
Your response to the Demand Letter, including but not limited to any subsequent request or
demand by NPA that the Debtor make the payment demanded under the Note on Your behalf, if
any.

       RESPONSE: Frank Waterhouse and James Dondero.

INTERROGATORY NO. 6:

       Identify each witness that You intend to call at trial in this Adversary Proceeding.

       RESPONSE: NexPoint objects to this request to the extent it seeks to impose obligations
       that exceed those imposed by applicable law. NexPoint is still in the process of identifying
       witnesses it will call at trial, and the parties have stipulated to a deadline for filing witness
       and exhibit lists (July 26, 2021). For the avoidance of doubt, names responsive to this
       request will likely be responsive to other requests, in which case they will not be withheld
       elsewhere based on this objection.

                             IV.     RESERVATION OF RIGHTS

        NexPoint reserves the right to amend or supplement these written objections and responses
at any time, consistent with the applicable Federal Rules of Civil Procedure.

       RESPECTFULLY SUBMITTED this 3rd day of May, 2021.

                                                       MUNSCH HARDT KOPF & HARR, P.C.

                                                       By: /s/ Davor Rukavina
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                                                          Texas Bar No. 24030781
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                                                       COUNSEL FOR NEXPOINT
                                                       ADVISORS, L.P.




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on the 3rd day of May, 2021, a true and correct copy
of this document was electronically served via email on counsel for the Debtor
(jpomerantz@pszjlaw.com; jmorriss@pszjlaw.com; zannable@haywardfirm.com).


                                                    /s/ Davor Rukavina
                                                       Davor Rukavina, Esq.




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                                          Verification

STATE OF TEXAS      §
                    §
COUNTY OF DALLAS___ §

           Before me, the undersigned notary, on this day personally appeared
____________________________, the affiant, whose identity is known to me. After I
administered an oath, affiant testified as follows:

            “My name is _______________________________. I am capable of making
this Verification. I have read the foregoing document. The facts stated in the answers to the
interrogatories are within my personal knowledge and/or are based on information I obtained from
other persons, and are true and correct.”

                                    NexPoint Advisors, L.P.

                                    By: _______________________________________

                                    Title: _____________________________________


 SUBSCRIBED AND SWORN TO BEFORE ME on this the                     day of May, 2021.

                                        _______________________________________
                                        Notary Public, State of Texas
                                        My Commission Expires: __________________




DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
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